                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,                 )
                                           ) Criminal No. 3:20-cr-00104
              v.                           )
                                           ) MOTION FOR PRELIMINARY
 ANTONIO LASHAWN WARFIELD,                 ) ORDER OF FORFEITURE
                                           )
              Defendant.                   )

      COMES NOW the United States of America, through Assistant U.S. Attorney

Craig Peyton Gaumer, and respectfully submits this Motion for a Preliminary Order

of Forfeiture in the above-entitled case for the reasons set forth below.   A proposed

order is submitted with this motion.

      1.     Statutory Authority.      The Court=s authority in this matter is founded

upon 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2.

      2.     Notice of Forfeiture in the Indictment.         On October 8, 2020, an

Indictment was returned in the Southern District of Iowa, which alleged specific

property was forfeitable from the Defendant if he was convicted of Count 1 (felon in

possession of a firearm).

      3.     Basis for Forfeiture to the United States.       On March 29, 2022, the

Defendant pled guilty to Count 1 (DCD 58), and pursuant to a written plea agreement

consented to forfeiture of the following property, which is legally and factually

forfeitable (DCD 57, ¶ 7):

      A loaded Taurus, nine-millimeter caliber, semi-automatic pistol (SN:
      TLT00754).
On April 18, 2022, this Court adopted the Report and Recommendation as to

Defendant’s guilty plea. (DCD 63.) Thus, the foregoing property can be preliminarily

forfeited to the United States.

       4.     Entry of Preliminary Order of Forfeiture.               Pursuant to Fed. R.

Crim. P.    32.2(b)(1)(A), the Court must, A[a]s soon as practical after a verdict or

finding of guilty, or after a plea of guilty . . . is accepted, on any count in an indictment

. . . regarding which criminal forfeiture is sought, . . . determine what property is

subject to forfeiture under the applicable statute.@       Fed. R. Crim. P. 32.2(b)(1)(A).

This determination can be based on the plea agreement and any other evidence

contained within the record.      Fed. R. Crim. P. 32.2(b)(1)(B). Once the Court finds

property forfeitable under Fed. R. Crim. P. 32.2(b)(1), it Amust promptly enter a

preliminary order of forfeiture . . . directing the forfeiture of specific property . . .

without regard to any third party=s interest in the property.@           Fed. R. Crim. P.

32.2(b)(2)(A).   Once such an order is entered, the government is authorized to

commence third party (ancillary) proceedings.            Pursuant to Fed. R. Crim. P.

32.2(b)(3), the entry of a preliminary order of forfeiture authorizes the Attorney

General (or a designee) to seize the specific property subject to forfeiture.       Fed. R.

Crim. P. 32.2(b)(3).

       5.     Finality of Preliminary Order of Forfeiture.               Fed. R. Crim. P.

32.2(b)(4)(A) and (B) provide that Aat sentencing—or at any time before sentencing if

the defendant consents—the preliminary order of forfeiture becomes final as to the




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defendant@ and must be made part of the sentence and be included in the judgment.

Fed. R. Crim. P. 32.2(b)(4)(A), (B).

        6.       Final Order of Forfeiture.                 When the ancillary proceeding ends, Athe

[C]ourt must enter a final order of forfeiture by amending the preliminary order as

necessary to account for any third-party rights.@                    Fed. R. Crim. P. 32.2(c)(2).         In this

district, the Court typically enters a Final Order of Forfeiture even if there are no

third-party filings, to document that the forfeiture part of the case has concluded.

        WHEREFORE, the United States respectfully requests that this Court enter a

Preliminary Order of Forfeiture.

                                                              Respectfully Submitted,

                                                              Richard D. Westphal
                                                              United States Attorney

                                                      By: /s/ Craig Peyton Gaumer
                                                          Craig Peyton Gaumer
                                                          Assistant United States Attorney
                                                          U. S. Courthouse Annex, Suite 286
                                                          110 East Court Avenue
                                                          Des Moines, Iowa 50309
                                                          Tel: (515) 473-9300
                                                          Fax: (515) 473-9292
                                                          Email: craig.gaumer@usdoj.gov


                                          CERTIFICATE OF SERVICE

        I hereby certify that on May 6, 2022, I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system. I hereby certify that a copy of this document was served on the parties or attorneys of
record by:

  ________U.S. Mail           Fax            Hand Delivery       X     ECF/Electronic filing       Other means

                                                                       UNITED STATES ATTORNEY
                                                                 By:   /s/ S. Oberfoell
                                                                       Paralegal Contractor II




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